  Case 19-02507        Doc 31    Filed 05/21/19 Entered 05/22/19 12:56:15                   Desc Main
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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                        Eastern Division

In Re:                                          )                BK No.:     19-02507
Larry J Walton                                  )
                                                )                Chapter: 13
                                                )
                                                                 Honorable Carol A. Doyle
                                                )
                                                )
                 Debtor(s)                      )

   ORDER DETERMINING AMOUNT OF SECURED/PRIORITY CLAIM (RULE 3012) OF
                   SHELLPOINT MORTGAGE SERVICING


On March 26, 2019, the Debtor filed a motion to value the claim of SHELLPOINT MORTGAGE
SERVICING (the "creditor") secured by a second lien (account ending 5384) against the property
commonly known as 7337 S South Shore Dr, Unit 201, Chicago, IL 60649, with a real estate tax PIN #
21-30-114-029-1002.
    IT IS HEREBY ORDERED that the relief requested in the motion in favor of the Debtor and against
the creditor is granted as follows:
   1. For purposes of the Chapter 13 Plan only, any claim asserted by the creditor stemming from its
second mortgage lien (account ending in 5384) against the property is entirely unsecured pursuant to 11
U.S.C. Section §506(a) given the value of the property and the amount of the senior lien.
  2. Any timely filed proof of claim of the creditor for the second mortgage lien will be treated as an
unsecured claim in the Chapter 13 plan.
  3. Upon completion of the Chapter 13 Plan and entry of a discharge the creditor's second mortgage
lien (account ending in 5384) will be deemed satisfied pursuant to 11 U.S.C. §§ Sections 1322 (b)(2),
1327 and 1328(a).
  4. The parties have agreed that the value of the real property is at least equal to the amount due on the
creditor's first mortgage lien (account ending in 1736), and Debtor will not file, prosecute, or assist in
any proceeding that objects to the claim on the first mortgage lien (account ending in 1736), challenge
the validity, enforceability, perfection or priority of the first lien, or seek set-off or subordination of the
claim on the first mortgage lien (account ending in 1736).

                                                             Enter:



                                                                      Honorable Carol A. Doyle
Dated: May 21, 2019                                                   United States Bankruptcy Judge

 Prepared by:
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